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               ORAL ARGUMENT NOT YET SCHEDULED
                                 No. 23-5275
            IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT


NATIONAL ASSOCIATION OF MUTUAL INSURANCE COMPANIES,

                                                    Plaintiff-Appellant

                                       v.

UNITED STATES DEPARTMENT OF
HOUSING AND URBAN DEVELOPMENT

                                                   Defendant-Appellee


                On Appeal from the United States District Court
               for the District of Columbia, No. 13-cv-966 (RJL)


 AMICI CURIAE BRIEF OF THE AMERICAN BANKERS ASSOCIATION
   AND INDEPENDENT COMMUNITY BANKERS OF AMERICA® IN
             SUPPORT OF PLAINTIFF-APPELLANT


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                         INTEREST OF AMICI CURIAE

      The American Bankers Association (“ABA”) and the Independent

Community Bankers of America® (“ICBA”) respectfully submit this brief as amici

curiae in support of Appellant National Association Of Mutual Insurance

Companies.1 Amici participated in the district court proceedings with the consent of

the parties and have also obtained all parties’ consent to the filing of this brief.

      The ABA is the principal national trade association of the financial services

industry in the United States. Founded in 1875, the ABA is the voice for the nation’s

$13 trillion banking industry and its million employees. ABA members are located

in each of the fifty States and the District of Columbia, and include financial

institutions of all sizes and types, both large and small. ABA members hold a

substantial majority of domestic assets of the banking industry of the United States

and are leaders in all forms of consumer financial services.

      ICBA is a national association with one mission: to create and promote an

environment where community banks flourish. ICBA powers the potential of the

nation’s community banks through effective advocacy, education, and innovation.




1
 No counsel for any party authored this brief in whole or in part, and no counsel for
any party made a monetary contribution intended to fund the preparation or
submission of this brief. No person or entity other than amici curiae, their respective
members, and their counsel made a monetary contribution intended to fund the
preparation or submission of this brief.


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ICBA’s membership consists of thousands of community banks located throughout

the United States – more than half of the total depository institutions in the country.

ICBA’s members collectively operate nearly 50,000 locations nationwide, employ

nearly 700,000 Americans, hold $5.8 trillion in assets, hold $4.8 trillion in deposits,

and make $3.8 trillion in loans to consumers, small businesses and the agricultural

community.

      Amici’s members are subject to Section 805 of the Fair Housing Act, which

prohibits discrimination in residential real estate-related transactions. 42 U.S.C.

§ 3605. Amici and their members vigorously support the Fair Housing Act and

strongly oppose discrimination in any aspect of housing or lending. At the same

time, amici have serious concerns that in promulgating the Rule at issue, the United

States Department of Housing and Urban Development (“HUD” or the “Agency”)

adopted an incorrect and improper standard for disparate-impact liability under the

Fair Housing Act—a standard that is inconsistent with Wards Cove Packing Co.,

Inc. v. Atonio (“Wards Cove”), 490 U.S. 642 (1989), and that ignores the limitations

on the application of disparate-impact claims required by Texas Department of

Housing and Community Affairs v. Inclusive Communities Project, Inc.,

576 U.S. 519 (2015) (“Inclusive Communities”), which followed Wards Cove.

      Amici and their members have an interest in the disposition of this case, as

Appellant’s challenge to the Disparate-Impact Rule raises issues that amici’s



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members face in complying with the Fair Housing Act and the Rule. In particular,

by misstating the applicable legal standards the Rule substantially increases both the

risk and cost of litigation well beyond that which amici’s members would face in

complying with governing Supreme Court precedent.

                                 INTRODUCTION
      Appellant has demonstrated convincingly that HUD violated the

Administrative Procedure Act in promulgating the Rule addressing the standard for

disparate-impact liability under the Fair Housing Act. See Implementation of the

Fair Housing Act’s Discriminatory Effects Standard, (“Disparate-Impact Rule” or

“Rule”), 78 Fed. Reg. 11460 (Mar. 18, 2013), as reinstated, 88 Fed. Reg. 19450

(May 1, 2023), codified at 24 C.F.R. § 100.500. Amici support, without repeating,

the arguments that Appellant presents and seek to amplify and expand the arguments

regarding the fundamental legal flaws of the Rule as applied to all businesses in the

United States engaged in the housing industry.

      NAMIC squarely presents the issue that HUD’s Disparate-Impact Rule as

applied to its members’ activities violates the necessary safeguards on disparate-

impact liability set forth in Inclusive Communities, and that the rule wrongly fails to

incorporate these safeguards. See NAMIC Br. at 35 (“HUD also declined to

incorporate several procedural safeguards based on Inclusive Communities that

would likely have prevented the injection of pervasive consideration of protected



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characteristics.”). These include requirements that a plaintiff adequately plead, and

then demonstrate at the prima facie stage, that a challenged policy has a “robust

causal link” to the disparate impact, that a challenged policy be “artificial, arbitrary,

and unnecessary,” and that a disparate impact plaintiff bears the ultimate burden of

establishing that a proposed alternative would be “equally effective” and cost-

efficient.   See Inclusive Cmtys. Project, Inc. v. Lincoln Prop. Co. (“Lincoln

Properties”), 920 F.3d 890, 902 (5th Cir. 2019) (“We read the Supreme Court’s

opinion . . . to undoubtedly announce a more demanding test than that set forth in

the HUD regulation.”).

       Both in initially promulgating the rule and in reinstating it, HUD rejected

binding Supreme Court precedent guiding the application of disparate-impact

liability in discrimination lawsuits, including, in particular, the standard established

by the Court in Wards Cove.2 Although commenters carefully outlined the proper

legal standard for disparate-impact claims under the Fair Housing Act, HUD

improperly rejected those arguments on the erroneous basis that Wards Cove was

inapplicable. Rather than following and being informed by the standard the Supreme

Court requires, HUD improperly grafted the standard Congress enacted only for




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  Amici describe the many areas of divergence between the Wards Cove standard
announced by the Supreme Court and the standard adopted by HUD in the Rule infra
at 23-26.


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disparate-impact claims brought under Title VII of the Civil Rights Act of 1964

(“Title VII”) onto disparate-impact claims brought under the Fair Housing Act.

HUD’s action is inconsistent with Wards Cove as followed in Inclusive

Communities.

      HUD does not have the authority to reject or act inconsistently with the

standard that under Supreme Court precedent applies to Fair Housing Act

discrimination claims based on a disparate-impact theory. As an executive-branch

agency, HUD lacks the authority to legislate and thus cannot adopt a disparate-

impact standard that required an act of Congress when implemented for Title VII

claims.

      Even if HUD somehow had the authority (which it did not) to adopt the

standard enacted by Congress to supplant Wards Cove in Title VII cases, HUD

abused its authority by cherry-picking only those portions of the standard that HUD

desired while omitting a crucial limitation imposed by Congress, namely that the

new standard would apply only to disparate-impact claims that did not seek

monetary relief. Congress required a Title VII plaintiff to show discriminatory intent

to recover money damages under Title VII, but the Rule does not; it purportedly

allows disparate-impact claims under the Fair Housing Act even if they focus solely

on money damages.




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      These errors, individually and in combination, require that the Rule be

vacated.

                                   ARGUMENT

I.    THE RULE MUST BE VACATED BECAUSE HUD EXCEEDED ITS
      AUTHORITY AND ACTED CONTRARY TO LAW WHEN IT
      REJECTED THE DISPARATE-IMPACT STANDARD IMPOSED BY
      THE SUPREME COURT.

      A.     HUD Is Bound by Supreme Court Precedent Defining the Standard
             for Disparate-Impact Claims under the Fair Housing Act.

      Section 815 of the Fair Housing Act authorizes HUD to “make rules … to

carry out this subchapter” after “giv[ing] public notice and opportunity for

comment.” 42 U.S.C. § 3614a. As with any rule promulgated by an executive

agency, HUD’s authority is limited to applying the Fair Housing Act in a manner

consistent with judicial precedent. See Chevron, U.S.A., Inc. v. Natural Res. Def.

Council, Inc., 467 U.S. 837, 843 n.9 (1984) (“The judiciary is the final authority on

issues of statutory construction and must reject administrative constructions which

are contrary to clear congressional intent.”). It is beyond question that the Agency

has no authority to alter the judicial interpretation of a statute as Congress might

choose to do. See, e.g., Neal v. United States, 516 U.S. 284, 290, 294–95 (1996)

(“Petitioner concedes, as he must, that the Commission does not have the authority

to amend the statute we construed in [a prior case];” court gave no deference to an

agency rule that “cannot be squared with” with the court’s prior interpretation of the

statute and overturned it); Maislin Indus., U.S., Inc. v. Primary Steel, Inc., 497 U.S.

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116, 131, 134–35 (1990) (“Once we have determined a statute’s clear meaning, we

adhere to that determination under the doctrine of stare decisis, and we judge an

agency’s later interpretation of the statute against our prior determination of the

statute’s meaning. . . . Although the Commission has both the authority and expertise

generally to adopt new policies when faced with new developments in the industry,

it does not have the power to adopt a policy that directly conflicts with its governing

statute.”) (citation omitted). 3

       Nor is it of any moment that HUD may believe its rule to be good policy,

given that it lacks authority under the statute to prescribe it, as only Congress can

provide that authority. See Am. Pharm. Ass’n v. Mathews, 530 F.2d 1054, 1056

(D.C. Cir. 1976) (“the FDA undoubtedly has genuine cause to believe that . . .

effective regulation in the public interest necessitates [the asserted] authority on its

part . . . Under the present statutory framework, however, I believe that argument



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   This case does not present the situation present in National Cable &
Telecommunications Association v. Brand X Internet Services, which held that an
agency need not follow a statutory construction that a court upheld by deferring to a
prior agency construction under “Chevron’s step two,” and may reach a conclusion
that is also within the zone of reasonableness afforded an agency when a statute is
ambiguous. 545 U.S. 967, 980–82 (2005). Wards Cove was not an agency deference
case, and did not suggest in any way that the Supreme Court was interpreting
ambiguous language or leaving an agency free to come to an alternative conclusion.
That is why Congress addressed the matter legislatively. See pp. 12-14, infra. Nor
would a court in any circumstance defer to an agency’s determination as to whether
a Supreme Court decision had been “superseded” or “abrogated.” See pp. 8, 10–11,
infra.


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must be addressed to Congress.”) (McGowan, J., concurring). And HUD is likewise

owed no deference in its interpretation of Supreme Court precedent, which is a

matter for courts, not agencies. See Univ. of Great Falls v. N.L.R.B., 278 F.3d 1335,

1341 (D.C. Cir. 2002) (“We are not obligated to defer to an agency’s interpretation

of Supreme Court precedent under Chevron or any other principle.” (internal

quotation omitted)).

      HUD was thus not operating on a clean slate in articulating the application of

disparate impact under the Fair Housing Act when it promulgated the Rule. Rather,

significant Supreme Court precedent existed to both direct HUD and limit the reach

of its rulemaking, precedent arising largely from the Supreme Court’s interpretation

of Title VII disparate-impact claims in Wards Cove and Inclusive Communities.

      The basic prohibitory language of Title VII, before its amendment by

Congress in 1991, is similar to that of the Fair Housing Act. The Supreme Court

recognized the “similarity in text and structure” between the two statutes in Inclusive

Communities. 576 U.S. at 535. The Court also observed that this similarity “is all

the more compelling given that Congress passed the FHA in 1968—only four years

after passing Title VII” in 1964. Id. And the two statutes serve similar purposes,

with Title VII designed to eradicate discrimination in employment and the Fair

Housing Act designed to eradicate discrimination in housing. See id. at 539.




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      In such circumstances, courts have recognized “a strong indication that [the

two laws] should be interpreted pari passu”—i.e., in the same way. Northcross v.

Board of Educ. of Memphis City Schs., 412 U.S. 427, 428 (1973) (per curiam); see

also Smith v. City of Jackson, Miss., 544 U.S. 228, 233–34 (2005). Inclusive

Communities concluded that “cases interpreting Title VII … provide essential

background and instruction” for construing the Fair Housing Act. 576 U.S. at 533.

      HUD itself recognized this concept in first devising the Disparate-Impact

Rule, agreeing that “courts have drawn the analogy between Title VII and the Fair

Housing Act in interpreting the Act.” Implementation of the Fair Housing Act's

Discriminatory Effects Standard, 78 Fed. Reg. 11460, 11466 (Mar. 18, 2013). And

HUD cited federal circuit court decisions standing for the proposition that “[c]laims

under Title VII and the [Fair Housing Act] generally should receive similar

treatment.” Id. at 11,462 n.35.

      There is a break-point, however, at which Title VII jurisprudence can no

longer guide interpretation of the applicable standard for disparate-impact liability

under the Fair Housing Act. The break-point occurred when Congress passed the

Civil Rights Act of 1991, which, in pertinent part, displaced the Wards Cove

disparate-impact standard for future disparate-impact claims brought under Title

VII. See 42 U.S.C. § 2000e-2(k)(1)(A)–(B). Perceiving the Wards Cove disparate-

impact standard as too rigorous for Title VII plaintiffs, Congress amended Title VII



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in 1991 to create a less rigorous standard for disparate-impact claims brought under

that statute. See Smith, 544 U.S. at 240 (“One of the purposes of th[e] amendment

[to Title VII] was to modify the Court’s holding in Wards Cove …, a case in which

we narrowly construed the employer’s exposure to liability on a disparate-impact

theory.”); see also Prop. Cas. Insurers Ass’n of Am. v. Donovan, 66 F. Supp. 3d

1018, 1052 n.12 (N.D. Ill. 2014) (“PCIAA”) (“In 1991, Congress established a

statutory framework for proving disparate impact claims in the Title VII context that

was less burdensome on plaintiffs than the Wards Cove standard.”).

      Because Congress chose to amend Title VII in response to Wards Cove but

did not choose to amend the Fair Housing Act, Wards Cove continues to provide the

proper application of disparate impact under the Fair Housing Act. The 1991

amendments to Title VII “highlight[] the principle that a departure from the

traditional understanding of discrimination requires congressional action.”

Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581, 618 n.3 (1999) (Thomas, J.,

dissenting). Congress has never taken action with respect to the Fair Housing Act

authorizing “a departure from the traditional understanding of discrimination” as

described in Wards Cove. Thus, while prior to 1991 it was both appropriate and

common to look to interpretations of Title VII to guide the standard of proof for

disparate-impact claims under the Fair Housing Act, after Congress’s 1991

amendments to Title VII it is error to do so. Title VII is now governed by a



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congressionally-enacted disparate-impact standard that is not applicable to other

laws prohibiting discrimination.

      The Supreme Court has squarely addressed this issue in evaluating the

continued application of the Wards Cove standard to disparate-impact claims under

the Age Discrimination in Employment Act (“ADEA”). In ruling that interpretation

of the ADEA is not guided by post-1991 Title VII jurisprudence, the Court stated:

“We cannot ignore Congress’ decision to amend Title VII’s relevant provisions but

not make similar changes to the ADEA. When Congress amends one statutory

provision but not another, it is presumed to have acted intentionally.” Gross v. FBL

Fin. Servs., Inc., 557 U.S. 167, 174 (2009). “Congress neglected to add such a

provision to the ADEA when it amended Title VII” and “[a]s a result, the Court’s

interpretation of the ADEA is not governed by Title VII decisions” that post-date

the Title VII amendments. Id. at 174–75.

      The Supreme Court has thus unambiguously concluded that the Wards Cove

standard continues to apply in disparate-impact cases arising under civil rights

statutes other than Title VII, such as the ADEA:

            While the relevant 1991 amendments expanded the
            coverage of Title VII, they did not amend the ADEA or
            speak to the subject of age discrimination. Hence, Wards
            Cove’s pre-1991 interpretation of Title VII’s identical
            language remains applicable to the ADEA.




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Smith, 544 U.S. at 240. The Ninth Circuit has agreed. See Sw. Fair Hous. Council,

Inc. v. Maricopa Domestic Water Improvement Dist., 17 F.4th 950, 960 n.5 (9th Cir.

2021) (“The Civil Rights Act of 1991 abrogated Wards Cove with respect to claims

under Title VII, but the Supreme Court has continued to apply Wards Cove burden

shifting to other antidiscrimination statutes.”) In the absence of a “congressional

action” similar to the 1991 amendments to Title VII, there is no basis to conclude

that Wards Cove does not continue to supply the disparate-impact standard under the

Fair Housing Act. See Gross, 557 U.S. at 174. And the Supreme Court continued

to rely on Wards Cove in the Fair Housing Act context in its Inclusive Communities

decision. See 576 U.S. at 542 (citing Wards Cove, 490 U.S. at 653 for its “robust

causality requirement”).

      HUD was thus bound by Wards Cove when promulgating the Disparate-

Impact Rule, and it constituted error for HUD to apply the 1991 Title VII

amendments to disparate-impact claims under the Fair Housing Act.

      B.    HUD Impermissibly Rejected the Wards Cove Standard for
            Disparate Impact Liability under the Fair Housing Act, Wrongly
            Stating That The Decision Has Been “Superseded” and
            “Abrogated.”

      When HUD issued the 2013 Disparate Impact Rule that the current rule re-

adopts, it explicitly—and wrongly—rejected the concept that Wards Cove governs

Fair Housing Act disparate-impact claims, stating without explanation that “HUD

does not agree … that Wards Cove even governs Fair Housing Act claims,” and


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describing Wards Cove as “superseded.” 78 Fed. Reg. at 11473. The repromulgated

Disparate-Impact Rule repeats this error, stating that Ward’s Cove has been

“superseded” by the 1991 legislation. See 2013 Rule at 11473 (stating “HUD does

not agree . . . that Wards Cove even governs Fair Housing Act claims,” and

referencing Wards Cove as “superseded.”).

      Discussing the burden shifting framework for Title VII cases in the new 2023

rule, HUD “notes that the Wards Cove framework was abrogated by the Civil Rights

Act of 1991, which restored the Albemarle standard.” 88 Fed. Reg. at 19488

n.311. HUD notes that its view is directly contrary to the Ninth Circuit’s decision

in Sw. Fair Hous. Council, discussed above. Id. HUD asserts that the Ninth Circuit

erred, but HUD is wrong. As set forth above, the 1991 law expressly did not amend

the FHA or any statute other than Title VII, and even as to Title VII it applied a new

standard only to injunctive claims, not to claims for damages. The Ninth Circuit

held exactly that, and that is the only permissible reading of Congress’ actions.

      Other than to argue erroneously that Wards Cove has been “superseded” and

“abrogated” in FHA cases, HUD’s final rule entirely ignores the case and the

limitations it places on disparate impact liability under the FHA. HUD is, of course,

not free to simply ignore Supreme Court precedent in purporting to apply a

statute. See Neal, 516 U.S. at 290 (“the Commission does not have the authority to

amend the statute we construed in [a prior case].”). This is particularly true in the



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case of HUD’s rule, given that Inclusive Communities held that the FHA could be

read to impose disparate-impact liability only because it “has always been properly

limited in key respects that avoid the serious constitutional questions that might arise

under the FHA, for instance, if such liability were imposed based solely on a

showing of a statistical disparity.” 576 U.S. at 540. Inclusive Communities also

made clear that “adequate safeguards at the prima facie stage” were required,

including the “robust causality requirement” of Wards Cove. Id. at 542 (citing

Wards Cove, 490 U.S. at 653).

      HUD discusses none of this statutory background or Supreme Court

precedent, but simply asserts that the Ninth Circuit’s decision “conflicts with the

other circuits.” 88 Fed. Reg. at 19488 n.312, (citing Mhany Mgmt. v. City of Nassau,

819 F.3d 581 (2d Cir. 2016); Inclusive Cmtys. Project, Inc. v. Heartland Cmty. Ass’n

(“Inclusive Communities II”), 824 F. App’x 210 (5th Cir. 2020), and de Reyes v.

Waples Mobile Home Park Ltd. P’ship, 903 F.3d 415 (4th Cir. 2018)). HUD does

not discuss any of these cases, much less explain how they “conflict” with the Ninth

Circuit’s ruling. A review of the cases, two of which ruled in the defendant’s favor

as to a claim of disparate impact liability under the FHA and the third of which

expressly relied on Wards Cove, readily demonstrates that each directly undermines

HUD’s assertion of a “conflict.”




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      Mhany Mgmt. does not discuss or even cite Wards Cove, and cites the Civil

Rights Act of 1991 only in passing. Mhany Mgmt., 819 F.3d at 615 n.8. It thus

cannot possibly “conflict” with the Ninth Circuit’s recognition of the plain fact that

the 1991 legislation repealed Wards Cove only as to Title VII and not as to the FHA

or any other statute. Moreover, the Second Circuit remanded the plaintiff’s disparate

impact claim to the district court in that case for failure to have properly placed on

the plaintiff the “burden of proving an available alternative practice that has less

disparate impact and serves Defendants’ legitimate nondiscriminatory interests.” Id.

at 618–20. This holding in no way conflicts with Wards Cove, and to the extent the

Second Circuit noted that its conclusion was consistent with HUD’s rule it was only

as to a matter that did not undermine the continued vitality of Wards Cove in any

way. See Wards Cove, 490 U.S. at 659 (the “ultimate burden of proving that

discrimination against a protected group has been caused by a specific employment

practice remains with the plaintiff at all times” (quotation omitted)).

      Inclusive Communities II, on remand from the Supreme Court, affirmed the

dismissal of an action claiming disparate-impact race discrimination in violation of

the FHA. Like Mhany Mgmt., the case does not discuss or even cite Wards Cove.

Nor does it make any reference to the 1991 legislation. The final case on which the

HUD rule relies, de Reyes v. Waples Mobile Home Park Ltd. P’ship, cites and relies

on Wards Cove throughout and states “[t]he Supreme Court’s opinion in Wards



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Cove provides a clear example of Inclusive Communities’ robust causality

requirement. In Wards Cove, the Supreme Court concluded that the Ninth Circuit

erred in holding that plaintiffs had made out a prima facie case of disparate impact

under Title VII using evidence that the percentage of salmon cannery workers in

‘noncannery jobs’ (generally skilled) who were non-white was significantly lower

than the number of workers in ‘cannery jobs’ (unskilled) who were non-white, as

this only demonstrated that a racial imbalance existed between the two jobs without

demonstrating how a specific policy caused a racial imbalance in either job.” 903

F.3d at 426.

      All of this demonstrates that, while Inclusive Communities is the Supreme

Court’s most recent word on the disparate impact standard under the FHA, there is

no basis for HUD’s position that the reasoning of Wards Cove is no longer relevant

or persuasive in assessing FHA claims. Indeed, as the Fourth Circuit noted in the de

Reyes case on which HUD purports to rely, “Inclusive Communities cited to Wards

Cove in explaining the robust causality requirement.” See 903 F.3d at 426 n.6

(citing Inclusive Communities, 576 U.S. 542).

      HUD’s error is particularly significant since the supposed purpose of the

Disparate-Impact Rule is to set out the governing legal standards for such

claims. The court decision enjoining HUD’s 2020 disparate-impact rule issued

under the last administration, which the 2023 rule replaces, noted that although



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portions of the 2020 rule were consistent with the law, portions were not, and the

injunction issued based on those parts that were not. See Massachusetts Fair Hous.

Ctr.r v. HUD, 496 F. Supp. 3d 600, 607, 611–612 (D. Mass. 2020). See also Lincoln

Properties, 920 F.3d at 902 (noting that the 2013 HUD rule that the 2023 rule

repromulgated was inconsistent with Inclusive Communities because it did not

impose as demanding a test for liability). The same result is appropriate here.

      C.     HUD’s Decision to Announce the Civil Rights Act of 1991 as the
             Standard for Disparate Impact under the Fair Housing Act
             Amounts to an Unauthorized and Unlawful Agency Action.

      HUD has now twice showed its disdain for the Wards Cove standard and its

preference for the standard that Congress enacted after the Wards Cove decision to

govern Title VII claims but not FHA claims. When the 2013 rule was first published

for comment, HUD stated that it intended to adopt “the discriminatory effects

standard confirmed by Congress in the 1991 amendments to Title VII.”

Implementation of the Fair Housing Act’s Discriminatory Effects Standard, 76 Fed.

Reg. 70921, 70924 (proposed Nov. 16, 2011). HUD was not swayed by any of the

comments describing the legal error of HUD’s position, and in the Rule as

promulgated, HUD chose the “Title VII discriminatory effects standard codified by

Congress in 1991” as the standard to govern disparate-impact claims under the Fair

Housing Act. Disparate-Impact Rule, 78 Fed. Reg. at 11474. HUD has now

repeated the error in repromulgating the 2013 rule.



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      As set out above, the authority HUD cites in purported support of its position

actually undermines it. See also Gross, 557 U.S. at 174 (“We cannot ignore

Congress’ decision to amend Title VII’s relevant provisions but not make similar

changes to the ADEA. When Congress amends one statutory provision but not

another, it is presumed to have acted intentionally.”). HUD observes that the ADEA

is somehow more “limited” than the FHA or Title VII, but does not even begin to

explain how that observation, even if it were true, would support its ignoring and

mischaracterizing the precedent cited above.

      HUD of course has no power to emulate Congress and overrule Supreme

Court statutory interpretations with which it may disagree. As noted earlier, the

Supreme Court has stated that the 1991 amendments to Title VII “highlight[] the

principle that a departure from the traditional understanding of discrimination

requires congressional action.”    Olmstead, 527 U.S. at 618 n.3 (Thomas, J.,

dissenting).   And yet HUD sought to exercise the powers of Congress in

promulgating the Rule. HUD’s action here would be comparable to a hypothetical

proposal from the Equal Employment Opportunity Commission (“EEOC”) to

promulgate a rule to supersede the Wards Cove decision for future ADEA claims.4

Federal agencies must promulgate rules that comply with decisions of the Supreme



4
 Congress has authorized the EEOC to issue “such rules and regulations as it may
consider necessary or appropriate for carrying out” the ADEA. 29 U.S.C. § 628.


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Court. See, e.g., United States v. Batato, 833 F.3d 413, 437 (4th Cir. 2016) (“Article

III courts cannot render decisions subject to revision by another branch of

government.”) (citing Chi. & S. Air Lines v. Waterman S.S. Corp., 333 U.S. 103,

113 (1948)) (Floyd, J., dissenting).

      Agencies can seek relief from Congress if they believe that new statutory

standards should govern their enforcement of statutes, but they cannot achieve their

objective simply through administrative rule making. See Mathews, 530 F.2d at

1056 (“Under the present statutory framework, however, I believe that argument

must be addressed to Congress.”) (McGowan, J., concurring). HUD’s preference

for the legislative Title VII-specific standard over the governing precedent of the

Supreme Court is transparent. Notwithstanding its preference, HUD is bound by the

limits of its own authority. And it lacked authority to adopt a standard for the Fair

Housing Act that required an act of Congress to achieve in the context of Title VII.

      D.     The Disparate-Impact Rule Adopting the Standard of the Civil
             Rights Act of 1991 Is a Substantial Departure from Wards Cove.

      Congress designed the 1991 Title VII amendments to alter the Wards Cove

disparate-impact standard as applied to that statute, so it comes as no surprise that,

in improperly adopting the 1991 Title VII amendments, the Disparate-Impact Rule




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also diverges widely from Wards Cove. The Disparate-Impact Rule departs from

Wards Cove in at least five significant ways: 5

    • First, Wards Cove requires a plaintiff to “demonstrate that it is the application
      of a specific or particular employment practice that has created the disparate
      impact under attack,” 490 U.S. at 657, but HUD permits a plaintiff “to
      challenge the decision-making process as a whole,” Disparate-Impact Rule,
      88 Fed. Reg. at 19485.

    • Second, Wards Cove requires that “each challenged practice has a
      significantly disparate impact,” 490 U.S. at 657, but HUD made a “decision
      not to codify a significance requirement,” Disparate-Impact Rule, 88 Fed.
      Reg. at 19486.

    • Third, Wards Cove requires that the “ultimate burden of proving that
      discrimination against a protected group has been caused by a specific
      employment practice remains with the plaintiff at all times,” 490 U.S. at 659,
      but HUD “formalize[s] a burden-shifting test,” Disparate-Impact Rule, 88
      Fed. Reg. at 19,450, 19459.

    • Fourth, Wards Cove specifies “there is no requirement that the challenged
      practice be ‘essential’ or ‘indispensable’ to the employer’s business for it to
      pass muster,” 490 U.S. at 659, but HUD requires the “defendant to prove that
      the challenged practice is necessary to achieve one or more substantial,
      legitimate, nondiscriminatory interests,” Disparate-Impact Rule, 88 Fed. Reg.
      at 19484.

    • Fifth, Wards Cove requires that “any alternative practices … must be equally
      effective … in achieving [] legitimate [] goals,” 490 U.S. at 661, but HUD
      refused to adopt this standard. Disparate-Impact Rule, 88 Fed. Reg. at 19491.




5
  The U.S. District Court for the Northern District of Illinois conducted an extensive
analysis comparing the disparate-impact approach of the Disparate-Impact Rule to
the disparate-impact approach of Wards Cove and described these same five areas
of divergence between the two standards. See PCIAA, 66 F. Supp. 3d at 1052.


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      The Inclusive Communities decision confirms HUD’s errors. The Supreme

Court noted that “disparate-impact liability has always been properly limited in key

respects” and described the limits in detail. Inclusive Communities, 576 U.S. at 540.

In particular, the Court described the harmful and unconstitutional consequences

flowing from an overbroad application of disparate impact—including the possible

invidious consideration of race or national origin in decision-making through racial

quotas. See id. at 542 (quoting Wards Cove, 490 U.S. at 653). Emphasizing the

Wards Cove standard, Inclusive Communities held that a “disparate-impact claim

that relies on a statistical disparity must fail if the plaintiff cannot point to a

defendant’s policy or policies causing that disparity” and that the application of a

“robust causality requirement ensures that racial imbalance does not, without more,

establish a prima facie case of disparate impact” under the Fair Housing Act. Id.

(quoting Wards Cove, 490 U.S. at 653) (cleaned up). Yet, the Rule describes no

meaningful limits on the use of disparate impact and certainly not the type of limits

that the Supreme Court has mandated. See Lincoln Properties, 920 F.3d at 902

(noting the inconsistencies between the HUD rule and Inclusive Communities).

      The distinctions between Supreme Court precedent and the Rule have an

important and harmful impact on amici and their members. For instance, it is well

recognized that credit decisions with respect to residential mortgage applications do

not align neatly with the realities of racial distribution within the population.



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Differences that might be correlated with factors such as age, race, or national origin

are to be expected even with the application of fair and prudent underwriting

standards, simply because of societal differences in wealth, income, employment,

and credit scores. Wards Cove and Inclusive Communities impose a significantly

greater burden on a plaintiff than the HUD rule by requiring the plaintiff to identify

the specific and uniformly applied business practice that is challenged and to

demonstrate “robust” causality between the challenged practice and the statistical

imbalance. Moreover, Inclusive Communities limits disparate-impact claims to the

“removal of artificial, arbitrary and unnecessary barriers” to housing. 576 U.S. at

540. HUD ignores this important limitation. Wards Cove further specifies that there

is no requirement of “necessity” in justifying a challenged practice and mandates

that the burden of proof remains with the plaintiff at all stages of the lawsuit. 490

U.S. at 659. But the Rule impermissibly places the burden on the “defendant []

prove that the challenged practice is necessary to achieve one or more substantial,

legitimate, nondiscriminatory interests.” Disparate-Impact Rule, 88 Fed. Reg. at

19451 (emphasis added).

      In sum, the Rule substantially increases both the likelihood and cost of

litigation, as well as ensuing risk of reputational injuries, over that which would be

present if HUD had followed the Supreme Court precedent.




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      E.     HUD Lacks Authority to Cherry-Pick Portions of the Disparate-
             Impact Standard Congress Enacted to Supersede Wards Cove in
             Title VII Claims.

      Even assuming for the sake of argument that HUD had the authority to reject

the Wards Cove standard and to promulgate in the housing-discrimination realm

what it took an act of Congress to achieve in the employment-discrimination realm,

the Disparate-Impact Rule exceeds HUD’s authority for a separate but interrelated

reason. Although HUD purports to adopt the “Title VII discriminatory effects

standard codified by Congress in 1991,” Disparate-Impact Rule, 88 Fed. Reg. at

19490, HUD did not adopt the entirety of the standard Congress enacted for Title

VII. Instead, by adopting the statute’s burdens on defendants while ignoring the

statute’s limitations on disparate impact, HUD formulated a standard for the Fair

Housing Act quite different from that which Congress enacted for Title VII.

      For instance, under the 1991 Title VII standard, employment-discrimination

plaintiffs must establish intent––not merely discriminatory effect––to state a claim

for money damages. See 42 U.S.C. § 1981a(b)(1)–(2) (prohibiting compensatory

and punitive damages in Title VII disparate-impact cases). This is the type of

limitation on disparate-impact liability envisioned by Inclusive Communities when

the Supreme Court observed that “[r]emedial orders in disparate-impact cases should

concentrate on the elimination of the offending practice that arbitrarily operates to

discriminate on the basis of race.”        576 U.S. at 544 (internal quotations



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omitted).Congress has never enacted, and the Supreme Court has never recognized,

a disparate-impact standard that both rejects the limitations of Wards Cove and, at

the same time, allows a claim for money damages.

      Yet, in promulgating the Rule, HUD did so. The Agency rejected the

provisions of the 1991 standard precluding disparate-impact plaintiffs from

obtaining money damages under Title VII (either compensatory or punitive) and set

no limits on the use of disparate impact to obtain money damages under the Fair

Housing Act. The Rule provides no sound rationale for adopting certain provisions

of the 1991 Title VII amendments (those which might be viewed as plaintiff-

friendly) while rejecting other provisions of the same statute (those which establish

limitations on the use of disparate impact).         The 1991 amendments reflect

Congress’s comprehensive statutory framework for the application of disparate

impact under Title VII. Indeed, the legislative history of the 1991 amendments

confirms the delicate balance Congress envisioned: “The bill does not give victims

an unlimited entitlement to damages. Compensatory and punitive damages are

available only in cases of intentional discrimination.” 137 Cong. Rec. S15219,

S15234 (Oct. 25, 1991) (emphasis added).

      It is, of course, markedly different to provide a “no requirement of intent”

standard for lawsuits that seek to eliminate offending business practices than it is to

provide such a standard in lawsuits that seek compensatory and punitive damages.



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And HUD has not identified any reasoned basis for adopting only a portion of

Congress’s 1991 Title VII amendments. Thus, under the Administrative Procedure

Act, HUD’s cherry-picking is “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A); cf. Lakeland Bus

Lines, Inc. v. NLRB, 347 F.3d 955, 962 (D.C. Cir. 2003) (agency cannot find

substantial evidence solely based on evidence that supports the result “without

taking into account contradictory evidence or evidence from which conflicting

inferences could be drawn”).

                                 CONCLUSION

      HUD exceeded its authority, and acted arbitrarily and capriciously, by

promulgating the Disparate-Impact Rule in a manner that conflicts with (1) the

Supreme Court’s limitations on disparate impact as articulated in Wards Cove and

reemphasized in Inclusive Communities, and (2) Congress’s limitations on disparate

impact liability in the 1991 Title VII amendments. Amici join Appellant the National

Association of Mutual Insurance Companies in requesting that the Court enter an

order vacating the HUD Disparate-Impact Rule.




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 May 8, 2024




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                      CERTIFICATE OF COMPLIANCE

      1.     This brief complies with the type-volume limitation of Fed. R. App. P.

32(a)(7)(B) because this brief contains 6033 words, excluding the parts of the brief

exempted by Fed. R. App. P. 32(f).

      2.     This brief also complies with the typeface requirements of Fed. R. App.

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14-point font.

                                      /s/John Longstreth
                                      Counsel for Amici Curiae




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                         CERTIFICATE OF SERVICE

      This is to certify that the foregoing instrument has been served via the Court’s

ECF filing system in compliance with Rule 25(b) and (c) of the Federal Rules of

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been transmitted to the Clerk of the Court.



                                       /s/John Longstreth




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